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15

16                                  UNITED STATES DISTRICT COURT
17                            NORTHERN DISTRICT OF CALIFORNIA
18
     SETH LONG, individually, and on behalf           Case No.: CV 13-01257-JD
19   of other members of the general public
     similarly situated,                              SUPPLEMENTAL NOTICE RE
20                                                    SETTLEMENT IN RESPONSE TO COURT
                       Plaintiff,                     ORDER [Dkt. No. 156]
21
            vs.                                       Judge:    Hon. James Donato
22
     GRACO CHILDREN’S PRODUCTS
23   INC., a Delaware corporation; NEWELL
     RUBBERMAID INC., a Delaware
24   corporation,

25
                       Defendants.
26
                                                      Complaint Filed: March 20, 2013
27                                                    Trial Date: Vacated

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                                                     -1-                            Case No. 13-01257 JD
                                      SUPPLEMANTAL NOTICE OF SETTLEMENT
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     Attorneys for Defendants
 7   GRACO CHILDREN’S PRODUCTS INC.
     and NEWELL RUBBERMAID INC.
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                                               -2-                      Case No. 13-01257 JD
                                    SUPPLEMENTAL NOTICE OF SETTLEMENT
        Case 3:13-cv-01257-JD Document 157 Filed 11/03/15 Page 3 of 4



 1          To the Honorable Court:
 2          Plaintiff Seth Long and Defendants Graco Children’s Products Inc. and Newell
 3   Rubbermaid Inc. file this Supplemental Notice of Settlement to respectfully clarify to the Court
 4   the nature of the settlement mediated by (Ret.) Judge Lynch and referred to in the parties’ Notice
 5   of Settlement. (Dkt. No. 155.) The settlement resolves Plaintiff’s individual claims, and Plaintiff
 6   is filing concurrently a stipulation of dismissal of his individual claims with prejudice pursuant to
 7   FRCP 41(a)(1)(A)(ii) and Rule 23. No class was certified in this action, no putative class
 8   members became parties, no notice of the suit was provided to putative class members, and
 9   putative class members’ claims and rights have not been adjudicated or resolved. Because no
10   class settlement was reached, Plaintiff is not moving for certification of a litigation or settlement
11   class or for preliminary or final approval of the settlement reached herein.
12
     Dated: November 3, 2015                             Respectfully submitted,
13
                                                         Capstone Law APC
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15
                                                         By:_ /s/ Robert K. Friedl ___________
16                                                          Robert K. Friedl
                                                            Attorneys for Plaintiff Seth Long
17
     Dated: November 3, 2015                              Respectfully submitted,
18
                                                          SCHIFF HARDIN LLP
19

20
                                                         By: /s/ Joseph J. Krasovec, III
21                                                          Attorneys for Defendants Graco Children’s
                                                            Products Inc. and Newell Rubbermaid Inc.
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                                                 -3-                                    Case No. 13-01257 JD
                                      SUPPLEMENTAL NOTICE OF SETTLEMENT
        Case 3:13-cv-01257-JD Document 157 Filed 11/03/15 Page 4 of 4



 1                       Certification of Compliance with N.D. Cal. L.R. 5.1(i)(3)
 2          I hereby certify that pursuant to N.D. Cal. L.R. 5.1(i)(3), I have obtained the authorization

 3   from the above signatories to file the above-referenced document, and that the above signatories

 4   concur in the filing’s content.

 5          I certify under penalty of perjury under the laws of the United States of America that the

 6   foregoing is true and correct. Executed on November 3, 2015.

 7

 8

 9                                                      By:     /s/ Robert K. Friedl
                                                              Robert K. Friedl
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                                       SUPPLEMENTAL NOTICE OF SETTLEMENT
